Case: 3:06-cv-00320-bbc Document #: 93-3 Filed: 04/20/10 Pa

June 30, 2003

APPEAL REQUEST

CIGNA HealthCare and American Family Mutual Insurance Company -

Routing 249 6000 American Parkway
One CIGNA Drive Madison, WI 53783-0001
P.O. Box 3088

Bourbonnais, IL 60914 Att: Ken Dvorak

Plan Administrator for CIGNA HealthCare
Att: Marsha Silberstein, MD

Intracorp Physician Reviewer

Dear Marsha and Ken,

I am attaching a copy of a denial letter I recently got from CIGNA for speech therapy for my
son.

I want to appeal the denial, and am requesting a complete copy of my Plan Documents. The
document I was told to pull off of the American Family Intranet site is a Summary Plan
Description, and is incomplete.

Thank you.

am

Sharon R. Mondry
221 Glen Hollow Road
Madison, WI 53705-1167

Enclosure

Jonathan Cope, Attorney
ABC for Health, Inc.
152 W. Johnson Street
Madison, WI 53703

and Leslie Wellauer, CCC/SLP
_ Communication Development Center
700 Rayovac Drive
Suite 200
- Madison, WI 53711
